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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                    8:15CR229
       vs.
                                                         SUBSTITUTION OF COUNSEL
ANGELO BONACCI, JR.,

                      Defendant.


       The United States hereby notifies the Court of the substitution of Nancy A. Svoboda,

Assistant United States Attorney, as counsel for the United States in this matter, replacing Doug

Amen, who is no longer with this office.

       Please direct all future pleadings and correspondence to the undersigned.

                                                    UNITED STATES OF AMERICA,
                                                    Plaintiff

                                                    DEBORAH R. GILG
                                                    United States Attorney



                                                    s/Nancy A. Svoboda
                                              By:   NANCY A. SVOBODA #17429
                                                    Assistant United States Attorney
                                                    1620 Dodge Street, Suite 1400
                                                    Omaha, Nebraska 68102-1506
                                                    (402) 661-3700

                                    CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2016, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the parties
of record.


                                                    s/Nancy A. Svoboda
                                                    NANCY A. SVOBODA
                                                    Assistant United States Attorney
